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      Joshua B. Swigart (SBN 225557)
 1
      Josh@SwigartLawGroup.com
 2    Haley G. Christenson (SBN 328322)
      HaleySwigartLawGroup.com
 3
      SWIGART LAW GROUP, APC
 4    2221 Camino del Rio S, Ste 308
      San Diego, CA 92108
 5
      P: 866-219-3343
 6
   Daniel G. Shay (SBN 250548)
 7
   DanielShay@TCPAFDCPA.com
 8 LAW OFFICE OF DANIEL G. SHAY
 9 2221 Camino del Rio S, Ste 308
   San Diego, CA 92108
10 P: 619-222-7429
11
      Attorneys for Plaintiffs
12
13 Jessica Lohr (SBN 302348)
   Jessica.Lohr@troutman.com
14 TROUTMAN SANDERS LLP
15 11682 El Camino Real, Ste 400
   San Diego, CA 92130-2092
16 P: (858) 509-6044
17
      Attorneys for Defendant
18
19                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF CALIFORNIA
20
21                                                          )   Case No.: 19-cv-2271-JLS-MSB
      WALTER SINNOTT,                                       )
22                                                          )   JOINT MOTION FOR DISMISSAL
                          Plaintiff,                        )   OF ACTION WITH PREJUDICE
23
      v.                                                    )
24                                                          )   District Judge: Janis L. Sammartino
   PORTFOLIO RECOVERY                                       )
25
   ASSOCIATES, LLC,                                         )
26                                                          )
            Defendant.                                      )
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      JOINT MOTION FOR DISMISSAL OF ACTION WITH PREJUDICE       1
     Case 3:19-cv-02271-JLS-MSB Document 16 Filed 05/22/20 PageID.72 Page 2 of 3



 1          In accordance with Federal Rule of Civil Procedure 41, Plaintiff Walter
 2 Sinnott and Defendant Portfolio Recovery Associates, LLC file this Joint Motion
 3 to Dismiss with Prejudice, and request that the court dismiss all of Plaintiff’s
 4 claims against Defendant Portfolio Recovery Associates, LLC with prejudice. The
 5 Parties agree to each bear their own fees and costs.
 6
 7                                                           Respectfully Submitted,
 8
      Date: May 22, 2020                                    SWIGART LAW GROUP, APC
 9
10                                                          By: s/ Joshua B. Swigart
                                                            Joshua B. Swigart, Esq.
11
                                                            Josh@SwigartLawGroup.com
12
                                                            Attorney for Plaintiffs
13
14 Date: May 22, 2020                                       TROUTMAN SANDERS LLP
15
                                                            By: s/ Jessica Lohr
16                                                          Jessica Lohr, Esq.
17                                                          Jessica.Lohr@Troutman.com

18                                                          Attorneys for Defendant
19
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      JOINT MOTION FOR DISMISSAL OF ACTION WITH PREJUDICE     2
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1
                        CERTIFICATION OF APPROVAL OF CONTENT
2
3             I, Joshua B. Swigart, counsel for Plaintiff, Walter Sinnott, in the above-
4 entitled matter, hereby certify that the required parties have approved and accepted
5 the content of the Joint Motion to Dismiss with Prejudice, and that I have obtained
6 authorization from Jessica Lohr, counsel for Defendant Portfolio Recovery
7 Associates, LLC for her electronic signature.
8
9
      Date: May 22, 2020                                    By: s/ Joshua B. Swigart
10                                                          Joshua B. Swigart, Esq.
11                                                          Josh@SwigartLawGroup.com

12                                                          Attorney for Plaintiff
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      JOINT MOTION FOR DISMISSAL OF ACTION WITH PREJUDICE     3
